Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 1 of 28




           EXHIBIT 14
               Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 2 of 28

    Czech Competition Office fines cathode ray tubes producers for
    price-fixing
    Resource type: Legal Update: archive
    Status: Law stated as at 26-Aug-2010
    Jurisdiction: Czech Republic

    On 26 August 2010, the Czech Competition Office adopted a first instance decision imposing fines totalling
    CZK51,787,000 (approximately EUR2.1 million) on eight cathode ray tube producers. Fines were imposed
    on Chunghwa Picture Tubes Ltd, Technicolor SA (formerly Thomson SA), Panasonic Corporation, MT
    Picture Display Co Ltd and Toshiba Corporation. Company Samsung SDI Co Ltd was granted full immunity
    for being the first to provide the information about the cartel. Fines were not imposed on two other
    companies (Koninklijke Philips Electronics NV and LG Electronics) because the statutory time limit for their
    imposition had expired.




    The full text of this resource is available through the following PLC service(s):

        Competition

        PLC EU Competition Law

        PLC UK Law Department

    Your subscription does not currently include this service.


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Resource information

  Resource ID: 9-503-4180
                Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 3 of 28
  Law stated date: 26-Aug-2010
  Products: Competition, PLC EU Competition Law, PLC UK Law Department

Related content

  Topics

   Cartels (http://us.practicallaw.com/1-103-1161)

  Legal Update: archive

   Czech Competition Office's decision to fine cathode ray tubes producers for price-fixing agreement confirmed
   (http://us.practicallaw.com/topic5-504-3271)
Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 4 of 28




 EXHIBITS 15–136
[Documents Submitted Under Seal]
Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 5 of 28




         EXHIBIT 137
       Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 6 of 28




                              SAVERI & SAVERI, INC.
                                  706 SANSOME STREET
                            SAN FRANCISCO, CALIFORNIA 94111
                                 Telephone: (415) 217-6810
                                  Facsimile: (415) 217-6813



         SAVERI & SAVERI, INC., an AV-rated law firm, was established in 1959.The firm
engages in Antitrust and Securities litigation, Product Defect cases, and in general civil and trial
practice. For over fifty years the firm has specialized in complex, multidistrict, and class action
litigation.

       GUIDO SAVERI, born San Francisco, California, June 10, 1925; admitted to bar, 1951,
California. Education: University of San Francisco (B.S., summa cum laude, 1947; LL.B.,
summa cum laude, 1950). Member: Bar Association of San Francisco; State Bar of California;
American Bar Association (Member, Antitrust Section); Lawyers Club of San Francisco.

        Mr. Saveri is a senior partner in the firm of Saveri & Saveri, Inc. He started the firm in
1959 and associated with Joseph L. Alioto, Esq., San Francisco, California, in the practice of
antitrust and other corporate litigation.After law school in 1951 and up until the forming of his
firm in 1959 he was associated with the law firm of Pillsbury, Madison &Sutro, San Francisco,
California.

       He has the highest rating in Martindale Hubbell, namely, “AV.”

        Mr. Saveri has testified before the Federal Judiciary Committee on antitrust matters and
has lectured on antitrust matters before The Association of Trial Lawyers of America, the
Federal Practice Institute, and other lawyer associations.Mr. Saveri has also written various
periodicals on antitrust topics.Mr. Saveri was named the 2007 Antitrust Lawyer of the Year by
the State Bar of California’s Antitrust and Unfair Competition Section.

         From the time he started his firm in 1959, Mr. Saveri has devoted practically all of his
time to antitrust and other corporate and complex litigation.He has actively participated in
antitrust cases involving the electrical industry, the water meter industry, scrap metal industry,
liquid asphalt industry, dairy products industry, typewriter industry, vanadium industry, pipe-
fitting industry, grocery business, liquor industry, movie industry, animal-raising business,
chemical industry, snack food industry, paper label industry, chrysanthemum industry, drug
industry, sugar industry, records industry, industrial gas industry, wheelchair industry, rope
industry, copper tubing industry, folding cartons industry, ocean shipping industry, pancreas
gland industry, corrugated container industry, glass container industry, fine paper industry, food
additives industry, prescription drugs industry, medical x-ray film industry, computer chips and
many others.




                                                -1-
       Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 7 of 28




       The following are some of the class actions in which Mr. Saveri actively participated:

        Nisley v. Union Carbide and Carbon Corp., 300 F. 2d 561 (10th Cir. 1960), and
Continental Ore. Co. v. Union Carbide and Carbon Corp., 370 U.S. 690 (1962). In 1960, Mr.
Saveri was one of the trial attorneys in the above cases which are the forerunners of present class
action litigation and are responsible not only for Rule 23 as it exists today but also for some of
the more important rulings in the field of antitrust law. The Nisley case was a class action tried
before a jury both on liability and damages and resulted in a verdict for the named plaintiffs and
the entire class.It is considered one of the leading cases on class actions, is often referred to as a
model for the trial of class actions, and has been followed in those antitrust class action cases
which have gone to trial.

        Sacramento Municipal Utility District v. Westinghouse Elec. Corp., 1962 Trade Case. ¶
70,552 (N.D. Cal. 1962). Mr. Saveri was one of the principal attorneys in several cases which
have come to be known as the Electrical Equipment cases.In 1961–1965, Mr. Saveri represented
such clients as the State of Washington, Sacramento Municipal Utility District and Modesto
Irrigation District.Mr. Saveri was one of the attorneys who tried several of these cases and did
very extensive work under a coordinated program instituted by the Murrah Committee under the
direction of the then Chief Justice of the United States.This Committee later became the Judicial
Panel for Multi-District Litigation.As a result of his experience in these cases, he participated in
drafting proposed legislation creating the Panel on Multi-District Litigation.

       Nurserymen’s Exchange v. Yoda Brothers, Inc., before Judge George R. Harris in San
Francisco. Mr. Saveri was the sole attorney for a class of 10,000 chrysanthemum growers.This
case was settled for substantial sums.

       City of San Diego, et al. v. Rockwell Manufacturing Company, before Judge George H.
Boldt of San Francisco. Mr. Saveri was Liaison and Lead Counsel in the above case
involvingwater meters.This case was settled for substantial sums.

        In re Private Civil Treble Damage Actions Against Certain Snack Food Companies,
Civil No. 70-2121-R, in the United States District Court, Central District of California. Mr.
Saveri was the lead attorney for the retail grocers’ class comprised of all retail grocers in the
states of California, Nevada, and Arizona certified by Judge Real involving the snack food
industry.The case was settled for substantial sums.

        In re Sugar Antitrust Litigation, MDL No. 201, in the United States District Court for
the Northern District of California, before Judges Boldt and Cahn. Mr. Saveri was the lead
attorney for the retail grocer classes in the Western Sugar litigation. In this litigation, he was a
member of the Executive Committee, Steering Committee and Settlement Committee.This case
settled for more than $35,000,000.

       Sun Garden Packing Co. v. International Paper Co., et al., C-72-52, U.S. District Court
in San Francisco. In 1972 Mr. Saveri filed the first price fixing class action against the paper
industry.He was the sole attorney representing all purchasers of lithograph paper labels in the
United States.The lithograph paper labels case was settled at a substantial figure.The lithograph



                                                 -2-
       Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 8 of 28




paper labels case was responsible for subsequent government indictments in lithograph paper
labels, folding cartons, small paper bags, and corrugated containers.

        In re Folding Carton Antitrust Litigation, MDL No. 250, Eastern District of Illinois,
Judges Will and Robson. Mr. Saveri was a member of the Executive Committee, Vice Chairman
of Discovery and a member of the Trial Team in this action involving a horizontal conspiracy to
fix prices for folding cartons.The case was settled for more than $200,000,000.

       In re Coordinated Pretrial Proceedings in Antibiotic Antitrust Actions, MDL No. 10, 4-
72 Civ 435; Judge Lord, United States District Court, District of Minnesota, Fourth Division.
Mr. Saveri was the attorney for the institutional class and consumer class for the States of Utah
and Hawaii. These actions were settled for substantial sums.

        Building Services and Union Health and Welfare Trust Fund, Plaintiff, v. Charles
Pfizer Company, et al., No. 4-71 Civ. 435; No. 4-71 Civ. 413, before Judge Lord in
Minneapolis, Minnesota. Mr. Saveri was the sole attorney for a class of 9,000 health and welfare
trust funds in the United States in this antitrust action against the drug companies.In 1974–1975
this class action went to trial before two juries at the same time and in the same court on liability
and damages for the entire class and lasted ten months.It was settled for a substantial sum.Mr.
Saveri was the sole attorney representing the plaintiff health and welfare trust fund class at trial.

       In re Corruagted Container Antitrust Litigation, MDL No. 310, Southern District of
Texas.Horizontal price fixing action. The case was settled for more than $400,000,000.

       In re Fine Paper Antitrust Litigation, MDL No. 325, Eastern District of Pennsylvania.
Mr. Saveri was a member of the Executive Committee and the trial team. The case was settled
for approximately $80,000,000.

       In re Ocean Shipping Antitrust Litigation, MDL No. 395, Southern District of New
York. Mr. Saveri was a member of the Steering Committee and the Negotiating Committee. The
firm understands this case was the first class action settlement involving claims by foreign
companies.Mr. Saveri was appointed an officer of the New York Federal District Court to audit
foreign claims in Europe.The case was settled for approximately $79,000,000.

        In re Corn Derivatives Antitrust Litigation, MDL No. 414, United States District Court
for the District of New Jersey. Mr. Saveri was Chairman of the Steering Committee and
Executive Committee.

       In re Coconut Oil Antitrust Litigation, MDL No. 474, Northern District of California.
Mr. Saveri was Co-Lead Counsel.

       In re Itel Securities Litigation, No.C-79-2168A, Northern District of California, Judge
Aguilar.Mr. Saveri was a member of the Steering Committee.




                                                -3-
      Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 9 of 28




        O’Neill Meat Co. v. Elitilly and Company, et al., No. 30 C 5093, United States District
Court for the Northern District of Illinois, Judge Holderman. Mr. Saveri was Co-Lead Counsel
for the class in this antitrust litigation involving pancreas glands.

         United National Records, Inc. v. MCA, Inc., et al., No.82 C 7589, United States District
Court for the Northern District of Illinois; Mr. Saveri was a member of the Steering Committee
in this records antitrust litigation. The class recovered $26,000,000 in cash and assignable
purchase certificates.

       In re Industrial Gas Antitrust Litigation, No. 80 C 3479, United States District Court for
the Northern District of Illinois. Mr. Saveri was a member of the Steering Committee. The class
recovered more than $50,000,000.

         Superior Beverages, Inc. v. Owens-Illinois, et al., No. 83-C512, United States District
Court for the Northern District of Illinois; Mr. Saveri was a member of the Executive Committee
in this antitrust litigation involving the price fixing of glass containers. The class recovered in
excess of $70,000,000 in cash and coupons.

       In re Washington Public Power Supply Securities Litigation, MDL No. 551, (W.D.
Wash.).Mr. Saveri was one of the court appointed attorneys for the class.

        In re Ask Computer Systems Securities Litigation, No. C-85-20207 (A) RPA, United
States District Court for the Northern District of California.Mr. Saveri was Co-Lead Counsel for
the class.

       Big D. Building Corp. v. Gordon W. Wattles, et al., MDL No. 652, United States District
Court for the Middle District of Pennsylvania. Mr. Saveri was a member of the Steering
Committee and Settlement Committee in this price fixing class action involving the rope
industry.

        In re Insurance Antitrust Litigation, MDL No. 767, Judge Schwarzer, United States
District Court for the Northern District of California.Mr. Saveri was Administrative Liaison
Counsel and a member of the Steering Committee.

       In re Sun Microsystems Securities Litigation, No. C-89-20351, RMW, U.S. District
Court for the Northern District of California; Mr. Saveri was Co-Lead Counsel.

        In re Infant Formula Antitrust Litigation, MDL No. 878, United States District Court
for the Northern District of Florida, Tallahassee Division.Mr. Saveri was one of the principal
attorneys. The case was settled for $125,760,000.

        In re Carbon Dioxide Industry Antitrust Litigation, MDL No. 878, Case No. 92-940,
PHB, United States District Court for the Middle District of Florida, Orlando Division.Mr.
Saveri was a member of the Steering Committee. The class recovered $53,000,000 and achieved
significant therapeutic relief for the class.




                                               -4-
      Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 10 of 28




        In re Medical X-Ray Film Antitrust Litigation, No.CV 93-5904, FB, United States
District Court for the Eastern District of New York.Mr. Saveri was a member of the Steering
Committee.

       In re Baby Food Antitrust Litigation, No. 92-5495, NHP, in the United States District
Court for the District of New Jersey.Mr. Saveri was a member of the Steering Committee.

         In re Brand Name Prescription Drugs Antitrust Litigation, MDL No. 997,94C 897,
CPK, United States District Court, Northern District of Illinois, Eastern Division.Mr. Saveri was
Co-Lead Counsel on behalf of approximately 50,000 retail pharmacies nationwide alleging an
illegal cartel between seventeen drug manufacturers and six drug wholesalers in preventing
discounts to retail pharmacies.The case was tried for eight weeks. The case was settled for
$700,000,000 in cash and $25,000,000 in product. Mr. Saveri was one of four lead trial lawyers.

        In re Citric Acid Antitrust litigation, MDL No. 1092, C-95-2963, FMS, United States
District Court, Northern District of California.Mr. Saveri was Co-Lead Counsel representing a
certified class of purchasers of citric acid throughout the United States against the citric acid
manufacturers for violations of the Sherman Act for fixing the price of citric acid in the United
States and around the world.The case was settled for $86,000,000.

         In re Methionine Antitrust Litigation, MDL No. 1311, CRB, United States District
Court, Northern District of California.A nationwide class action on behalf of direct purchasers of
methionine alleging price-fixing.Saveri & Saveri, Inc. served as Co-Lead Counsel in this
litigation. The case was settled for $107,000,000.

        In re Managed Care Litigation, MDL No. 1334, Master File No. 00-1334-MD (Judge
Moreno) United States District Court, Southern District of Florida.Mr. Saveri serves as a
member of the Executive Committee representing the California Medical Association, Texas
Medical Association, Georgia Medical Association and other doctors against the nation’s HMOs
for violations of the Federal RICO Act. The case was partially settled with benefits
approximating $1 billion dollars.

        In re Dynamic Random Access Memory Antitrust Litigation, MDL No. 1486 (Judge
Hamilton) United States District Court, Northern District of California. Mr. Saveri serves as Co-
Lead Counsel on behalf of direct purchasers of dynamic random access memory
(DRAM)alleging a nationwide class for price-fixing. The case settled for more than $325 million
in cash.

        In re Flash Memory Antitrust Litigation, No. C 07-0086 SBA (Judge Armstrong)
United States District Court, Northern District of California. Mr. Saveri serves as Co-Lead
Counsel on behalf of direct purchasers of flash memory (Flash) alleging a nationwide class for
price-fixing.

      In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917, Case No. C 07-
5944 SC (Judge Conti) United States District Court, Northern District of California.Mr. Saveri




                                               -5-
      Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 11 of 28




serves as Lead Counsel on behalf of direct purchasers of cathode ray tubes (CRTs) alleging a
nationwide class for price-fixing.

        In re Optical Disk Drive (ODD) Products Antitrust Litigation, MDL No. 2143; 10-md-
02143-RS (Judge Seeborg) United States District Court, Northern District of California. Mr.
Saveri serves as Chair of the Committee of Direct Purchaser Plaintiffs’ Counsel on behalf of
direct purchasers of optical disk drives (ODDs) alleging a nationwide class for price-fixing.

        Mr. Saveri also has been and is involved in numerous other major class action litigation
in the antitrust and securities fields.

       RICHARD SAVERI, Partner, 1951–1999.

        R. ALEXANDER SAVERI, born San Francisco, California, July 22, 1965; admitted to
bar, 1994, California and U.S. District Court, Northern District of California; 1995, U.S. Court of
Appeals, Ninth Circuit; 2000, U.S. District Court, Southern District of California; 2000, U.S.
District Court, Central District of California; 2012, U.S. Court of Appeals, Third Circuit.
Education: University of Texas at Austin (B.B.A. Finance 1990); University of San Francisco
(J.D., 1994) University of San Francisco Maritime Law Journal 1993–1994. Member: State Bar
of California, American Bar Association (Member, Antitrust Section), Association of Trial
Lawyers of America, University of San Francisco Inn of Court, National Italian American Bar
Association, University of San Francisco Board of Governors (2003–2006), Legal Aid Society
(Board of Directors).

         Mr. Saveri is the managing partner of Saveri & Saveri, Inc.After graduating from law
school, he began working for his father and uncle at Saveri & Saveri, P.C. on antitrust and
complex litigation.The current practice of Saveri & Saveri, Inc. emphasizes class action antitrust
litigation.

       He has the highest rating in Martindale Hubbell, namely, “AV.”

       Mr. Saveri has served or is serving as court-appointed Co-Lead or Liaison Counsel in the
following cases:

        In re Lithium Ion Batteries, Master Docket No. 4:13-md-2420-YGR, United States
District Court, Northern District of California (antitrust class action on behalf of direct
purchasers of lithium ion batteries).

        In re California Title Insurance Antitrust Litigation, Case No. 08-01341 JSW, United
States District Court, Northern District of California (antitrust class action involving federal
antitrust laws and California statutory law for unlawful practices concerning payments for title
insurance in California);

       In re Intel Corp. Microprocessor Antitrust Litigation, MDL No. 05-1717 (JJF) United
States District Court, District of Delaware (antitrust class action on behalf of all consumers in the
United States that indirectly purchased Intel x86 microprocessors);



                                                -6-
      Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 12 of 28




        In re Vitamin C Antitrust Litigation, MDL No. 06-1738 (DTG)(JO), United States
District Court, Eastern District Of New York (antitrust class action on behalf of all California
indirect purchasers of vitamin C);

        In re Polychloroprene Antitrust Cases, J.C.C.P. No. 4376, Los Angeles Superior Court
(antitrust class action on behalf of all California indirect purchasers of polychloroprene rubber);

       In re NBR Cases, J.C.C.P. No. 4369, San Francisco Superior Court (antitrust class action
on behalf of all California indirect purchasers of NBR);

       Carpinelli et al. v. Boliden AB et al., Master File No. CGC-04-435547, San Francisco
Superior Court (antitrust class action on behalf of all California indirect purchasers of copper
tubing);

       Competition Collision Center, LLC v. Crompton Corporation et al., Case No. CGC-04-
431278, San Francisco Superior Court (antitrust class action on behalf of all California indirect
purchasers of plastic additives);

        In re Urethane Cases, J.C.C.P. No. 4367, San Francisco Superior Court (antitrust class
action on behalf of all California indirect purchasers of urethane and urethane chemicals);

       The Harman Press et al. v. International Paper Co. et al., (Consolidated Cases) Master
File No. CGC-04-432167, San Francisco Superior Court (antitrust class action on behalf of all
California indirect purchasers of publication paper);

        In re Label Stock Cases, J.C.C.P. No. 4314, San Francisco Superior Court (antitrust class
action on behalf of all California indirect purchasers of high pressure label stock);

       Richard Villa et al. v. Crompton Corporation et al., Consolidated Case No. CGC-03-
419116, San Francisco Superior Court (antitrust class action on behalf of California indirect
purchasers of EPDM);

        Russell Reidel et al. v. Norfalco LLC et al., Consolidated Case No. CGC-03-418080,
San Francisco Superior Court (antitrust class action on behalf of California indirect purchasers of
sulfuric acid);

       Smokeless Tobacco Cases I–IV, J.C.C.P. Nos. 4250, 4258, 4259 and 4262, San
Francisco Superior Court (certified antitrust class action on behalf of California consumers of
smokeless tobacco products);

        Electrical Carbon Products Cases, J.C.C.P. No. 4294, San Francisco Superior Court
(Private Entity Cases) (antitrust class action on behalf of California indirect purchasers of
electrical carbon products);




                                                -7-
      Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 13 of 28




        The Vaccine Cases, J.C.C.P. No. 4246, Los Angeles Superior Court (medical monitoring
class action on behalf of children exposed to mercury laden vaccines);

       In re Laminate Cases, J.C.C.P. No. 4129, Alameda Superior Court (antitrust class action
on behalf of California indirect purchasers of high pressure laminate);

        Compact Disk Cases, J.C.C.P. No. 4123, Los Angeles Superior Court (antitrust class
action on behalf of California consumers of prerecorded compact disks);

        Sorbate Prices Cases, J.C.C.P. No. 4073, San Francisco Superior Court (antitrust class
action on behalf of California indirect purchasers of sorbate);

        In re Flat Glass Cases, J.C.C.P. No. 4033, San Francisco Superior Court (antitrust class
action on behalf of California indirect purchasers of flat glass products);

       Vitamin Cases, J.C.C.P. No. 4076, San Francisco Superior Court (antitrust class action
on behalf of California indirect purchasers of vitamins);

       California Indirect Purchaser MSG Antitrust Cases, Master File No. 304471, San
Francisco Superior Court (antitrust class action on behalf of California indirect purchasers of
Monosodium Glutamate);

        In re Aspartame Indirect Purchaser Antitrust Litigation, Master Docket No. 06-1862-
LDD, United States District Court, Eastern District of Pennsylvania (antitrust class action on
behalf of California indirect purchasers of aspartame); and

        GM Car Paint Cases, J.C.C.P. No. 4070, San Francisco Superior Court (class action on
behalf of all California owners of General Motors vehicles suffering from paint delamination).


       CADIO ZIRPOLI, born Washington D.C., September 1, 1967; admitted to bar 1995,
California and U.S. District Court, Northern District of California. Education: University of
California, Berkeley (B.A. 1989); University of San Francisco (J.D., cum laude, 1995), U.S.F.
Law Review 1992–1993. Member: State Bar of California; Assistant District Attorney, City and
County of San Francisco 1996–2000.

       He has the highest rating in Martindale Hubbell, namely, “AV.”

                                 _________________________

        WILLIAM J. HEYE, born Boston, Massachusetts, April 14, 1975 admitted to bar, 2004,
California, and U.S. District Court, Northern and Central District of California. Education:
Brown University (B.A. 1997); University Of California, Hastings College of the Law (J.D. cum
laude 2004) Hastings International and Comparative Law Review. Publication:Note, Forum
Selection for International Dispute Resolution in China—Chinese Courts vs. CIETAC, 27
Hastings Int’l & Comp. L. Rev. 535 (Spring 2004).



                                               -8-
      Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 14 of 28




       MELISSA SHAPIRO, born Los Angeles, California, May 27, 1980, admitted to bar
2006, California, and U.S. District Court, Northern and Central District of California. Education:
University of Southern California (B.A. 2002); Pepperdine University School of Law (J.D. 2005)
Pepperdine Law Review, Publication: Comment: Is Silica the Next Asbestos? An Analysis of the
Sudden Resurgence of Silica Lawsuit Filings, 32 Pepp. L. Rev. 983 (2005).

        TRAVIS L. MANFREDI, born Fresno, California, March 16, 1980, admitted to bar
January 2012, California and U.S. District Court, Northern District of California. Education:
University of California, Santa Cruz (B.A. 2004); University of San Francisco School of Law
(J.D., cum laude, 2011): University of San Francisco Law Review Managing Editor, Vol. 45;
Member of National Appellate Advocacy Competition team; Research assistant to Professor J.
Thomas McCarthy, author of McCarthy on Trademarks and Unfair Competition. Publications:
Survey, In re Spirits Int’l, N.V., 563 F.3d 1347 (Fed. Cir. 2009), 14 Intell. Prop. L. Bull. 71
(2009); Note, Sans Protection: Typeface Design and Copyright in the Twenty-First Century, 45
U.S.F. L. Rev. 841 (2011). Member: State Bar of California.

       DAVID HWU, born Stanford, California, November 20, 1985; admitted to bar, 2011,
California and U.S. District Court, Northern District of California. Education: University of
California, Berkeley (B.A., 2008). University of San Francisco School of Law (J.D., 2011).
Member: State Bar of California. Language: Chinese.

        CARL N. HAMMARSKJOLD, born Detroit, Michigan, August 20, 1967; admitted to the
bar 2011, California, and U.S. District Court, Northern District of California. Education: Pomona
College (B.A., 1989); University of San Francisco School of Law (J.D., summa cum laude,
2011): Academic Excellence Award; John L. Brennan Award for Creativity and Innovation in
Advocacy; Law Review Best Student Note Award; University of San Francisco Law Review
(2009–2011); Executive Director, Moot Court Board of Directors (2010–2011); Judicial Extern
to the Honorable William Alsup (2010).Publication: Comment, Smokes, Candy, and the Bloody
Sword: How Classifying Jailhouse Snitch Testimony as Direct, Rather than Circumstantial,
Evidence Contributes to Wrongful Convictions, 45 U.S.F. L. Rev. 1103 (2011). Member: State
Bar of California.

         DAVID DORR, (Paralegal) born Philadelphia, Pennsylvania. Education: Arizona State
University (B.S. 1987); Thunderbird, The American Graduate School of International
Management, (MBA 1998); The Chase Manhattan Bank, N.A. New York, New York, Senior
Institutional Trust Administrator, 1990–1995; Charles Schwab Company, San Francisco, Trust
Associate, 1996; Independent Corporate Marketing and Personal Finance consultant 1998–2002.

       JAE HYUN LIM, (Paralegal) born Incheon, South Korea, July 9, 1988. Education:
University of California, Berkeley (B.A. 2011), Team Waffle Intern Research Analyst (2011).
Language: Korean.

       SHANNON EASTERLY, (Paralegal) born Elko, Nevada, February 27, 1986. Education:
California State University, Northridge (B.A. 2009).




                                              -9-
      Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 15 of 28




      MICHAELA OGDEN, (Paralegal) born San Diego, California, March 1,
1990.Education: University of Washington (B.A. 2012 with honors).

                                        OF COUNSEL

       GEOFFREY C. RUSHING, born San Jose, California, May 21, 1960; admitted to bar,
1986, California and U.S. District Court, Northern District of California.Education:University of
California, Berkeley, California (A.B. 1982 with honors); University of California, Berkeley,
California, Boalt Hall (J.D. 1986).Member: State Bar of California.

        LISA SAVERI, born San Francisco, California, April 10, 1956; admitted to bar, 1983,
California and U.S. District Court, Northern District of California; 1987, U.S. District Court,
Eastern District of California; 2002, U.S. Court of Appeals, Ninth Circuit and U.S. District
Court, Central District of California.Education: Stanford University (A.B., Economics, 1978);
University of San Francisco (J.D. 1983), U.S.F. Law Review.Member: State Bar of California.
Associate, Pillsbury Madison & Sutro, 1983–1992; Legal Extern, Hon. Eugene F. Lynch, Judge,
United States District Court, Northern District of California (1982); San Francisco Public
Defender’s Office (Summer 1989). Publications: G. Saveri & L. Saveri, Pleading Fraudulent
Concealment In An Antitrust Price Fixing Case: Rule 9(b) v. Rule 8, 17 U.S.F.L.Rev. 631
(1983); L. Saveri, Implications of the Class Action Fairness Act for Antitrust Cases: From Filing
Through Trial, 15 No. 1, Competition: J. of the Antitrust and Unfair Competition Law Section of
the State Bar of California 23 (2006); L. Saveri & Co-Author, Does the Cartwright Act Have A
Future?, 17 No. 2, Competition: J. of the Antitrust and Unfair Competition Law Section of the
State Bar of California 31 (2008); L. Saveri & Co-Authors, “California State Antitrust and
Unfair Competition Law,”California State Bar, Chapter 21: Class Actions in Competition and
Consumer Protections Cases (Dec. 2009) and 2010 Update; L. Saveri & Co-Authors, “California
State Antitrust and Unfair Competition Law,”California State Bar, Chapter 22: Indirect
Purchaser Actions, 2010 Update. Professional Affiliations: United States District Court,
Northern District of California, Special Master, Standing Committee on Professional Conduct
(appointment)(2008–2011); State Bar of California, Antitrust and Unfair Competition Law
Section, Executive Committee, Member (appointment)(2005–2010), Secretary (2007–2009),
First Vice-Chair (2009–2010), Advisory Committee (2010– present).




                                              - 10 -
      Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 16 of 28




                             CLASS ACTION LITIGATION
        The following are some additional class action cases in which the firm of Saveri & Saveri
actively participated as class counsel:

        In re NASDAQ Market-Makers Antitrust Litigation, MDL No. 1023, United States
District Court, Southern District of New York.A nationwide class action on behalf of purchasers
of securities on the NASDAQ market alleging a violation of the Sherman Act for fixing the
spread between the quoted buy and sell prices for the securities sold on the NASDAQ market.

       In re Potash Antitrust Litigation, MDL No. 981, United States District Court, District of
Minnesota, Third Division. A class action on behalf of all direct purchasers of potash throughout
the United States alleging a horizontal price fix.

        In re Airline Ticket Commission Antitrust Litigation, MDL No. 1058, Untied States
District Court, District of Minnesota. A class action alleging that the major airlines conspired to
fix travel agents’ commission rates.

        Pharmaceutical Cases I, II, and III, Judicial Council Coordination Proceeding Nos.
2969, 2971, and 2972, San Francisco Superior Court. A certified class action on behalf of all
California consumers against the major drug manufacturers for fixing the price of all brand name
prescription drugs sold in California.

        Perish et. al. v. Intel Corporation, Civ. No. 755101, Santa Clara Superior Court. A
nationwide class action on behalf of purchasers of Intel Pentium chips alleging consumer fraud
and false advertising.

        In re Carpet Antitrust Litigation, MDL No. 1075, United States District Court, Northern
District of Georgia, Rome Division.A nationwide class action on behalf of all direct purchasers
of polypropylene carpet alleging a horizontal price fix.

        In re California Indirect-Purchaser Plasticware Antitrust Litigation, Civ. Nos. 961814,
963201, 963590, San Francisco Superior Court.A class action on behalf of indirect purchasers of
plasticware alleging price-fixing.

       In re Worlds of Wonder Securities Litigation; No.C-87-5491 SC, United States District
Court, Northern District of California.

        Pastorelli Food Products, Inc. v. Pillsbury Co., et al., No. 87C 20233, United States
District Court, Northern District of Illinois.

       Red Eagle Resources Corp., et al. v. Baker Hughes Incorporated, et al., No. 91-627
(NWB) (Drill Bits Litigation) United States District Court, Southern District of Texas, Houston
Division.




                                               - 11 -
      Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 17 of 28




        In re Wirebound Boxes Antitrust Litigation, MDL No. 793, United States District Court,
District of Minnesota, Fourth Division.A nationwide class action on behalf of purchasers of
wirebound boxes alleging a horizontal price fix.

        In re Bulk Popcorn Antitrust Litigation, No. 3-89-710, United States District Court,
District of Minnesota, Third Division.A nationwide class action on behalf of direct purchasers of
bulk popcorn alleging price-fixing.

       Nancy Wolf v. Toyota Sales, U.S.A. and Related Cases, No.C 94-1359, MHP, 1997 WL
602445 (N.D. Cal. 1997)United States District Court, Northern District of California.A
nationwide class action on behalf of Toyota car purchasers alleging consumer fraud.

       Mark Notz v. Ticketmaster - Southern, and Related Cases, No. 943327, San Francisco
Superior Court.A consumer class action alleging a territorial allocation in violation of the
Cartwright Act.

       Neve Brothers, et al. v. Potash Corporation, et. al., No. 959867, San Francisco Superior
Court.A class action on behalf of indirect purchasers of potash in California for price-fixing.

        In re Chrysler Corporation Vehicle Paint Litigation, MDL No. 1239.Nationwide class
action on behalf of owners of delaminating Chrysler vehicles.

       Miller v. General Motors Corporation, Case No. 98 C 7836, United States District
Court, Northern District of Illinois.Nationwide class action alleging a defective paint process
which causes automobile paint to peel off when exposed to ordinary sunlight.

                               ANTITRUST LITIGATION
       The following list outlines some of the Antitrust litigation in which the firm of Saveri &
Saveri has been involved:

1.     Union Carbide & Carbon Corp. v. Nisley, 300 F. 2d 561 (10th Cir. 1960)

2.     Continental Ore. Co. v. Union Carbide and Carbon Corp., 370 U.S. 690 (1962)

3.     Public Service C. of N.M. v. General Elec. Co., 315 F.2d 306 (10th Cir. 1963)

4.     State of Washington v. General Elec. Co., 246 F.Supp. 960 (W.D. Wash. 1965)

5.     Nurserymen’s Exchange v. Yoda Brothers, Inc.

6.     Bel Air Markets v. Foremost Dairies Inc., 55 F.R.D. 538 (N.D. Cal. 1972)

7.     In re Western Liquid Asphalt Case, 487 F.2d 191 (9th Cir. 1973)

8.     In re Gypsum Cases, 386 F.Supp. 959 (N.D. Cal. 1974)



                                               - 12 -
      Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 18 of 28




9.     City of San Diego, et al. v. Rockwell Manufacturing Company

10.    In re Private Civil Treble Damage Actions Against Certain Snack Food Companies,
       Civil No. 70-2121-R

11.    In re Sugar Antitrust Litigation, MDL No. 201, 559 F.2d 481 (9th Cir. 1977)

12.    Sun Garden Packing Co. v. International Paper Co., et al., No. C-72-52,

13.    In re Folding Carton Antitrust Litigation, MDL No. 250

14.    In re Coordinated Pretrial Proceedings in Antibiotic Antitrust Actions, 4-72 Civ 435 et
       al., 410 F. Supp. 706 (D.Minn. 1975)

15.    Building Services and Union Health and Welfare Trust Fund, Plaintiff, v. Charles
       Pfizer Company, et al., No. 4-71 Civ. 435; No. 4-71 Civ. 413

16.    In re Fine Paper Antitrust Litigation, MDL No. 325

17.    In re Armored Car Antitrust Litigation, CA No. 78-139A, 472 F.Supp. 1357 (N.D. Ga.
       1979)

18.    In re Ocean Shipping Antitrust Litigation, MDL No. 395, 500 F.Supp. 1235 (3d Cir.
       1984)

19.    In re Corn Derivatives Antitrust Litigation, MDL No. 414, 500 F.Supp. 1235 (1980)

20.    In re Coconut Oil Antitrust Litigation, MDL No. 474

21.    Garside v. Everest & Jennings Intern., 586 F.Supp. 389 (D.C. Cal. 1984)

22.    Lorries Travel & Tours, Inc. v. SFO Airporter Inc., 753 F.2d 790 (9th Cir. 1985)

23.    O’Neill Meat Co. v. Eli Lilly and Company, et al., No. 30 C 5093

24.    In re Records and Tapes Antitrust Litigation, No.82 C 7589, 118 F.R.D. 92 (N.D. Ill
       1987)

25.    In re Industrial Gas Antitrust Litigation, No. 80 C 3479, 100 F.R.D. 280 (N.D. Ill 1987)

26.    Matter of Superior Beverages/Glass Container Consolidated Pretrial, No. 83-C512, 137
       F.R.D. 119 (N.D. Ill 1990)

27.    Big D. Building Corp. v. Gordon W. Wattles, et al., MDL No. 652

28.    In re Insurance Antitrust Litigation, MDL No. 767



                                            - 13 -
      Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 19 of 28




29.    In re Wirebound Boxes Antitrust Litigation, MDL No. 793

30.    In re Domestic Air Transp. Antitrust Litigation, MDL No. 861, 144 F.R.D. 421 (N.D.
       Ga. 1992)

31.    In re Infant Formula Antitrust Litigation, MDL No. 878

32.    Finnegan v. Campeau Corp., 915 F.2d 824 (2d Cir. 1990)

33.    In re Carbon Dioxide Industry Antitrust Litigation, MDL No. 940, 155 F.R.D. 209

34.    In re Medical X-Ray Film Antitrust Litigation, No. CV 93-5904, FB

35.    In re Bulk Popcorn Antitrust Litigation, 792 F.Supp. 650 (D.Minn. 1992)

36.    In re Baby Food Antitrust Litigation, No. 92-5495, NHP

37.    In re Potash Antitrust Litigation, MDL No. 981

38.    In re Brand Name Prescription Drugs Antitrust Litigation, MDL No. 997

39.    In re Citric Acid Antitrust litigation, MDL No. 1092

40.    In re NASDAQ Market-Makers Antitrust Litigation, MDL No. 1023

41.    In re Airline Ticket Commission Antitrust Litigation, MDL No. 1058

42.    Pharmaceutical Cases I, II, and III, J.C.C.P. Nos. 2969, 2971, and 2972, San Francisco
       Superior Court

43.    In re Carpet Antitrust Litigation, MDL No. 1075

44.    In re California Indirect-Purchaser Plastic Ware Antitrust Litigation, Nos. 961814,
       963201, 963590, San Francisco Superior Court

45.    Pastorelli Food Products, Inc. v. Pillsbury Co., et al., No. 87C 20233

46.    Red Eagle Resources Corp., et al. v. Baker Hughes Incorporated, et al., No. 91-627
       (NWB) (Drill Bits Litigation)

47.    Mark Notz v. Ticketmaster - Southern, and Related Cases, No. 943327, San Francisco
       Superior Court

48.    Neve Brothers, et al. v. Potash Corporation, et al., No. 959867, San Francisco Superior
       Court



                                             - 14 -
      Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 20 of 28




49.    Food Additives (Citric Acid) Cases, J.C.C.P. No. 3625, Master File No. 974-120

50.    Biljac v. Bank of America, et al.

51.    Diane Barela, et al v. Ralph’s Grocery Company, et al., No. BC070061,Los Angeles
       Superior Court

52.    Leslie K. Bruce, et al v. Gerber Products Company, et al., No. 948-857,San Francisco
       Superior Court

53.    In re California Indirect Purchaser Medical X-Ray Film Antitrust Litigation, Master
       File No. 960886

54.    Lee Bright v. Kanzaki Specialty Papers, Inc., et al., No. 963-598,San Francisco Superior
       Court

55.    Neve Brothers v. Potash Corporation of America, et al., No. 959-767,San Francisco
       Superior Court

56.    Gaehwiler v. Sunrise Carpet Industries Inc., et al., No. 978345,San Francisco Superior
       Court

57.    In re Commercial Tissue Products Antitrust Litigation, MDL No. 1189

58.    Sanitary Paper Cases I and II, Judicial Council Coordination Proceedings Nos. 4019 &
       4027

59.    Gaehwiler v. Aladdin Mills, Inc., et al., No. 300756,San Francisco Superior Court

60.    In re Flat Glass Antitrust Litigation, MDL No. 1200

61.    Flat Glass Cases, J.C.C.P. No. 4033

62.    Sorbate Prices Cases, J.C.C.P. No. 4073

63.    In re Stock Options Trading Antitrust Litigation, MDL No. 1283

64.    In re Vitamin Antitrust Litigation, MDL No. 1285

65.    In re Sorbates Direct Purchaser Antitrust Litigation, Master File No. C 98-4886 CAL

66.    Vitamin Cases, J.C.C.P. No. 4076

67.    In re PRK/Lasik Consumer Litigation, Master File No. CV 772894, Santa Clara
       Superior Court



                                             - 15 -
      Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 21 of 28




68.    In re Nine West Shoes Antitrust Litigation, Master File No. 99-CV-0245 (BDP)

69.    Food Additives (HFCS) Cases, J.C.C.P. No. 3261

70.    In re Toys “R” Us Antitrust Litigation, MDL No. 1211

71.    Cosmetics Cases, J.C.C.P. No. 4056

72.    In re Methionine Antitrust Litigation, MDL No. 1311

73.    Bromine Cases, J.C.C.P. No. 4108

74.    Fu’s Garden Restaurant v. Archer-Daniels-Midland, et al., No. 304471,San Francisco
       Superior Court

75.    Thomas & Thomas Rodmakers, Inc., et al. v. Newport Adhesives and Composites, Inc.,
       et al., No. CV 99-07796 GHK

76.    In re Monosodium Glutamate Antitrust Litigation, MDL No. 1328

77.    California Indirect Purchaser Auction House Cases, Master Case No. 310313

78.    In re Cigarette Antitrust Litigation, MDL No. 1342

79.    Cigarette Price Fixing Cases, J.C.C.P. No. 4114

80.    Microsoft Cases, J.C.C.P. No. 4106

81.    Compact Disk Cases, J.C.C.P. No. 4123

82.    In re Compact Disc Minimum Advertised Price Antitrust Litigation, MDL No. 1361

83.    In re Ciprofloxacin Hydrochloride Antitrust Litigation, MDL No. 1383

84.    In re Buspirone Antitrust Litigation, MDL No. 1413

85.    In re K-Durr Prescription Drug Antitrust Litigation, MDL No. 1419

86.    Carbon Cases, J.C.C.P. Nos. 4212, 4216 and 4222

87.    In re Polychloroprene Antitrust Cases, J.C.C.P. No. 4376

88.    In re Urethane Cases, J.C.C.P. No. 4367




                                            - 16 -
       Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 22 of 28




89.     The Harman Press et al. v. International Paper Co. et al., (Consolidated Cases) Master
        File No. CGC-04-432167

90.     In re Label Stock Cases, J.C.C.P. No. 4314

91.     Richard Villa et al. v. Crompton Corporation et al., Consolidated Case No. CGC-03-
        419116, San Francisco Superior Court

92.     Russell Reidel et al. v. Norfalco LLC et al., Consolidated Case No. CGC-03-418080,
        San Francisco Superior Court

93.     Smokeless Tobacco Cases I-IV, J.C.C.P. Nos. 4250, 4258, 4259, and 4262, San
        Francisco Superior Court

94.     Natural Gas Antitrust Cases, J.C.C.P. No. 4312

95.     In re Western States Wholesale Natural Gas Litigation, MDL No. 1566

96.     In re Automotive Refinishing Paint Cases, J.C.C.P. No. 4199

97.     Young et al. v. Federated Department Stores, Inc., No. C-04-3514-VRW, United States
        District Court, Northern District of California

98.     In re Credit/Debit Card Tying Cases, J.C.C.P. No. 4335

99.     In re NBR Cases, J.C.C.P. No. 4369

100.    Competition Collision Center, LLC v. Crompton Corporation et al., No. CGC-04-
        431278, San Francisco Superior Court

101.    In re Urethane Chemicals Antitrust Litigation, MDL No. 1616

102.    In re Rubber Chemicals Antitrust Litigation, MDL No. 1648

103.    Carpinelli et al. v. Boliden AB et al., Master File No. CGC-04-435547, San Francisco
        Superior Court

104.    Automobile Antitrust Cases I and II, J.C.C.P. Nos. 4298 and 4303

105.    In re Currency Conversion Fee Antitrust Litigation, MDL No. 1409

106.    In re Dynamic Random Access Memory (DRAM) Antitrust Litigation, MDL No. 1486

107.    In re Publication Paper Antitrust Litigation, MDL No. 1631

108.    In re Insurance Brokerage Antitrust Litigation, MDL No. 1663



                                             - 17 -
       Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 23 of 28




109.    In re Hydrogen Peroxide Antitrust Litigation, MDL No. 1682

110.    In re Intel Corp. Microprocessor Antitrust Litigation, MDL No. 1717

111.    In re Air Cargo Shipping Services Antitrust Litigation, MDL No. 1775

112.    In re International Air Transportation Surcharge Antitrust Litigation, MDL No. 1793

113.    Carbon Black Cases, J.C.C.P. No. 4323

114.    Madani, et al. v. Shell Oil Co., et al., No. 07-CV-04296 MJJ

115.    In re Static Random Access Memory (SRAM) Antitrust Litigation, MDL No. 1819

116.    In re Flash Memory Antitrust Litigation, No. 4:07-CV-00086 SBA

117.    In re TFT-LCD (Flat Panel) Antitrust Litigation, MDL No. 1827

118.    In re Korean Air Lines Co., Ltd., Antitrust Litigation, MDL No. 1891

119.    In re Fasteners Antitrust Litigation, MDL No. 1912

120.    In re Transpacific Passenger Air Transportation Antitrust Litigation, MDL No. 1913

121.    In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917

122.    In re Chocolate Confectionary Antitrust Litigation, MDL No. 1935

123.    In re Flat Glass Antitrust Litigation (II), MDL No. 1942

124.    In re Municipal Derivatives Antitrust Litigation, MDL No. 1950

125.    In re Aftermarket Filters Antitrust Litigation, MDL No. 1957

126.    In re Puerto Rican Cabotage Antitrust Litigation, MDL No. 1960

127.    In re Hawaiian and Guamanian Cabotage Antitrust Litigation, MDL No. 1972

128.    In re California Title Insurance Antitrust Litigation, No. 08-01341 JSW

129.    In re Optical Disk Drive (ODD) Antitrust Litigation, MDL. No. 2143

130.    Kleen Products LLC, et al. v. Packaging Corporation of America, et al., No. 10-5711




                                             - 18 -
       Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 24 of 28




131.    In re Automotive Parts Antitrust Litigation, MDL No. 2311

132.    In re On-Line Travel Company (OTC)/Hotel Booking Antitrust Litigation, MDL No.
        2405

133.    In re Lithium Ion Batteries Antitrust Litigation, MDL No. 2420




                                            - 19 -
Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 25 of 28




EXHIBITS 138–139
[Documents Submitted Under Seal]
Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 26 of 28




         EXHIBIT 140
Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 27 of 28




                            ANNUAL REPORT 2011
                                including the Annual Financial Report
                  Case 4:07-cv-05944-JST Document 2969-7 Filed 11/07/14 Page 28 of 28
        8 - FINANCIAL STATEMENTS
            Notes to the consolidated financial statements




      Cathode Ray Tubes Investigations                                               Environmental matters
      On November 28, 2007, Technicolor USA, Inc. (US) (formerly                     A certain number of Technicolor’s current and previously-owned
      Thomson, Inc.) received a subpoena issued on behalf of the Antitrust           manufacturing sites have an extended history of industrial use. Soil and
      Division of the U.S. Department of Justice (“DOJ”) investigating               groundwater contamination, which occurred at some sites, may occur or
      alleged anticompetitive conduct in the Cathode Ray Tubes (“CRT”)               be discovered at other sites in the future. Industrial emissions at sites that
      industry, including Color Picture Tubes (“CPT”) and Color Display              Technicolor has built or acquired expose the Group to remediation costs.
      Tubes (“CDT”) businesses.                                                      The Group has identified certain sites at which chemical contamination
                                                                                     has required or will require remedial measures.
      In addition, class action law suits asserting private antitrust claims were
      filed in early 2008 in the United States that originally named Thomson         Soil and groundwater contamination was detected at a former production
      and others as defendants, although Thomson/Technicolor was dropped             facility in Taoyuan, Taiwan acquired in the 1987 transaction with General
      as a named defendant when amended complaints were filed in the spring          Electric Company and Technicolor’s affiliate in Taiwan owned the facility
      of 2009.                                                                       from approximately 1988 to 1992, when it was sold to an entity outside
                                                                                     the Group. Soil remediation was completed in 1998.
      On January 9, 2008, Thomson/Technicolor received a request
      under art 18 (2) of Council Regulation n°1/2003 from the European              In 2002, the Taoyuan Environmental Protection Bureau ordered
      Commission (the “EC”) also relating to the CRT industry. Thomson/              remediation of the groundwater underneath the former facility. The
      Technicolor received three further requests for information from the           groundwater remediation process is underway.
      EC on January 16, 2009, January 19, 2009, and September 15, 2009
      respectively.                                                                  It is Technicolor’s position that General Electric Company has a
                                                                                     contractual obligation to indemnify Technicolor with respect to certain
      Thomson/Technicolor sold its CPT business in 2005 and never had                liabilities resulting from activities that occurred prior to the 1987
      activity in the CDT business. The Company has taken measures it                agreement with General Electric. General Electric denies the existence
      considers appropriate to investigate the background to, and respond            of any such obligations to Technicolor.
      to, the subpoena and the EC requests.
                                                                                     To date, TCETVT has incurred approximately U.S.$11 million in
      On November 25, 2009, Thomson/Technicolor received a Statement                 remediation costs. In the class action case referenced above under
      of Objections (“SO”) from the European Commission. The SO is an                “Taoyuan County Former RCA Employees’ Solicitude Association”,
      intermediate step in the EC’s investigation and, therefore, is not in the      TCETVT has incurred approximately U.S.$6.3 million to date to defend
      nature of a final decision by the EC.                                          the action. It is TCETVT’s position that General Electric is responsible
                                                                                     for most if not all of the costs incurred by TCETVT for both matters,
      On March 3, 2010, Thomson/Technicolor filed its written response to            including all future costs and any judgment awarded.
      the “SO”. On May 26 and 27, 2010, Thomson/Technicolor attended
      an Oral Hearing together with the other parties and the European               In addition to soil and groundwater contamination, the Group sells or
      Commission. Thomson/Technicolor stated that it played a minor role             has sold in the past products which are subject to recycling requirements
      in the alleged anticompetitive conduct. Thomson/Technicolor also               and is exposed to changes in environmental legislation affecting these
      informed the European Commission about its financial situation and             requirements in various jurisdictions.
      continues to cooperate closely with the European Commission. The
      EC should render its decision in 2012, but the Company considers that          The Group believes that the amounts reserved and the contractual
      the timetable for the remainder of this proceeding cannot be accurately        guaranties provided by its contracts for the acquisition of certain
      determined.                                                                    production assets will enable it to reasonably cover its safety, health
                                                                                     and environmental obligations. However, potential problems cannot
      On April 29, 2010 Technicolor’s Brazilian affiliate received notice            be predicted with certainty and it cannot be assumed that these reserve
      from the Brazilian Ministry of Justice indicating Brazilian authorities        amounts will be precisely adequate.
      are initiating an investigation of possible cartel activity within the CRT
      industry in Brazil.                                                            In addition, future developments such as changes in governments or in
                                                                                     safety, health and environmental laws or the discovery of new risks could
      The Board of Directors has conducted a thorough examination of the risk        result in increased costs and liabilities that could have a material effect on
      associated with these proceedings and has determined that at this stage        the Group’s financial condition or results of operations. Based on current
      there are too many uncertainties to assess the extent of any liability that    information and the provisions established for the uncertainties described
      Technicolor may incur in consequence of these investigations. Given            above, the Group does not believe it is exposed to any material adverse
      these conditions, the criteria for establishing a reserve are not satisfied.   effects on its business, financial condition or result of operations arising
                                                                                     from its environmental, health and safety obligations and related risks.




226    I TECHNICOLOR I ANNUAL REPORT 2011
